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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                          Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                Phone: (312) 435-5850
             Chicago, Illinois 60604                                      www.ca7.uscourts.gov




 July 21, 2020
By the Court:
                                         GARRISON JONES,
                                         Plaintiff - Appellant

 No. 20-1013                             v.

                                         VELOCITY TECHNOLOGY SOLUTIONS, et al.,
                                         Defendants - Appellees

  Originating Case Information:

 District Court No: 1:18-cv-03288
 Northern District of Illinois, Eastern Division
 District Judge Jorge L. Alonso


 This cause, docketed on January 3, 2020, is DISMISSED for failure to timely pay the
 required docketing fee, pursuant to Circuit Rule 3(b).




 form name: c7_FinalOrderWMandate(form ID: 137)
